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07                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
08                                      AT SEATTLE
09 UNITED STATES OF AMERICA,              )
                                          )
10         Plaintiff,                     )
                                          )              Case No. 05-368M
11         v.                             )
                                          )
12   JUAN MAYA-ANGEL,                     )              DETENTION ORDER
                                          )
13         Defendant.                     )
     ____________________________________ )
14
     Offense charged:
15
            Distribution of heroin in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 846.
16
     Date of Detention Hearing:     July 25, 2005
17
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
18
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
19
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
20
            (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant
21
     is a flight risk and a danger to the community based on the nature of the pending charges. No
22
     conditions would reasonably assure the presence of defendant at the time of trial, and defendant
23
     has not overcome these presumptions.
24
            (2)     The pretrial services report of July 25, 2005, reveals that defendant is a native and
25
     citizen of Mexico.
26

     DETENTION ORDER                                                                             15.13
     18 U.S.C. § 3142(i)                                                                      Rev. 1/91
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01          (3)    Defendant entered the United States illegally approximately four years ago, and
02 has been living in Seattle for the past one and one-half years. Prior to living in Seattle, Mr.

03 Maya-Angel was living in San Francisco, California.

04          (4)    Defendant has no current income source.
05          (5)    Defendant has no ties to this community or to the Western District of
06 Washington.

07          (6)    An immigration detainer has been lodged against the defendant by the
08 Immigration and Customs Enforcement Agency.

09          IT IS THEREFORE ORDERED:
10          (1)    Defendant shall be detained pending trial and committed to the custody of the
11                 Attorney General for confinement in a correction facility separate, to the extent
12                 practicable, from persons awaiting or serving sentences or being held in custody
13                 pending appeal;
14          (2)    Defendant shall be afforded reasonable opportunity for private consultation with
15                 counsel;
16          (3)    On order of a court of the United States or on request of an attorney for the
17                 government, the person in charge of the corrections facility in which defendant
18                 is confined shall deliver the defendant to a United States Marshal for the purpose
19                 of an appearance in connection with a court proceeding; and
20          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to
21                 counsel for the defendant, to the United States Marshal, and to the United States
22                 Pretrial Services Officer.
23
                   DATED this 26th day of July, 2005.


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                                                         JAMES P. DONOHUE
26
                                                         United States Magistrate Judge

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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